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HANDBOOK FOR
HANDBOOK  FOR U.S.
               U.S.
WEATHERFORD EMPLOYEES
WEATHERFORD   EMPLOYEES




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                                                  EXHIBIT D         Weatherford
                                                                    Weatherford
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Ra           EMPLOYEE HANDBOOK
             EMPLOYEE HANDBOOK -- U.S.
                                  U.S.




WORKPLACE EXPECTATIONS
WORKPLACE EXPECTATIONS (continued)
                       (continued)

DISPUTE RESOLUTION
DISPUTE RESOLUTION PROGRAM
                   PROGRAM ("DRP")
                           (“DRP”)
Conflicts in
Conflicts in workplaces
             workplaces often
                            often occur.
                                  occur. IfIf you
                                              you have
                                                    have aa work-related
                                                             work-related problem,
                                                                              problem, or  or if
                                                                                              if you
                                                                                                 you are
                                                                                                     are responsible
                                                                                                           responsible forfor handling
                                                                                                                               handling oror responding
                                                                                                                                             responding
to employee
to employee concerns,
               concerns, the
                           the DRP
                                DRP can
                                     can help.
                                          help. Its
                                                 Its purpose
                                                      purpose is  is to
                                                                     to offer
                                                                        offer you
                                                                               you flexible
                                                                                    flexible options
                                                                                              options for
                                                                                                        for airing
                                                                                                             airing and
                                                                                                                     and settling
                                                                                                                          settling almost
                                                                                                                                    almost every
                                                                                                                                             every kind
                                                                                                                                                   kind of
                                                                                                                                                         of
workplace conflict
workplace   conflict or
                     or concern,
                         concern, while
                                    while maintaining
                                           maintaining strict
                                                            strict adherence
                                                                     adherence to to confidentiality
                                                                                      confidentiality andand neutrality.
                                                                                                               neutrality. The
                                                                                                                            The goal
                                                                                                                                 goal of
                                                                                                                                       of the
                                                                                                                                          the DRP
                                                                                                                                               DRP is
                                                                                                                                                   is to
                                                                                                                                                      to resolve
                                                                                                                                                         resolve
disputes quickly and fairly, repair damaged relationships, and foster a better work environment.
disputes  quickly  and  fairly, repair damaged       relationships,     and  foster  a  better   work environment.

The DRP
The   DRP offers
           offers four
                    four options
                         options for
                                  for resolving
                                      resolving workplace
                                                 workplace concerns
                                                            concerns that
                                                                       that can
                                                                             can be
                                                                                 be used
                                                                                     used in
                                                                                          in any
                                                                                             any order,
                                                                                                 order, depending
                                                                                                        depending onon the
                                                                                                                        the nature
                                                                                                                             nature ofof the
                                                                                                                                         the
situation. These
situation.   These options
                      options can
                               can be
                                    be used
                                       used to
                                             to resolve
                                                resolve matters
                                                        matters ranging
                                                                 ranging from
                                                                           from minor
                                                                                 minor misunderstandings
                                                                                        misunderstandings toto violations
                                                                                                               violations of
                                                                                                                           of legally
                                                                                                                               legally protected
                                                                                                                                        protected
rights. They
rights.  They are:
                are:

OPEN DOOR
OPEN   DOOR (1)
              (1) Because
                  Because the
                            the Open
                                 Open Door
                                         Door process
                                              process has has proven
                                                               proven to
                                                                       to be
                                                                          be the
                                                                             the most
                                                                                  most effective
                                                                                       effective option
                                                                                                   option for
                                                                                                           for resolving
                                                                                                               resolving work-related
                                                                                                                          work-related disputes,
                                                                                                                                          disputes,
we encourage
we  encourage people
                 people to
                         to use
                            use this
                                 this option
                                       option first.
                                              first. It
                                                     It provides
                                                        provides immediate
                                                                   immediate access
                                                                               access to
                                                                                       to all
                                                                                          all levels
                                                                                              levels of
                                                                                                      of management.
                                                                                                         management. You You may
                                                                                                                              may also
                                                                                                                                   also call
                                                                                                                                         call the
                                                                                                                                              the DRP
                                                                                                                                                   DRP
for confidential
for confidential assistance
                  assistance from
                               from anan Ombudsman.
                                          Ombudsman. Your  Your Ombudsman
                                                                 Ombudsman can  can coach
                                                                                    coach you
                                                                                            you and
                                                                                                 and give
                                                                                                      give you
                                                                                                            you tips
                                                                                                                tips on
                                                                                                                     on how
                                                                                                                        how toto guide
                                                                                                                                 guide your
                                                                                                                                        your "direct
                                                                                                                                               “direct
communication” to
communication"     to aa mutually
                         mutually agreeable
                                    agreeable conclusion.
                                                conclusion.

OMBUDSMAN SERVICES
OMBUDSMAN        SERVICES (2)  (2) This
                                   This option
                                         option allows
                                                  allows you
                                                          you to
                                                               to customize
                                                                  customize your
                                                                               your approach
                                                                                       approach to to your
                                                                                                       your workplace
                                                                                                             workplace concern.
                                                                                                                           concern. ItIt can
                                                                                                                                         can provide
                                                                                                                                               provide aa setting
                                                                                                                                                          setting
for you
for  you to
          to discuss
             discuss your
                      your situation
                             situation with
                                         with anan Ombudsman
                                                    Ombudsman or   or Ombuds
                                                                      Ombuds in   in aa confidential
                                                                                         confidential andand neutral
                                                                                                              neutral manner.
                                                                                                                       manner. With
                                                                                                                                 With your
                                                                                                                                         your permission,
                                                                                                                                                permission, the
                                                                                                                                                              the
Ombuds can
Ombuds      can gather
                gather information
                         information for for you,
                                              you, help
                                                    help you
                                                         you identify
                                                              identify options
                                                                        options for
                                                                                  for resolution
                                                                                        resolution using
                                                                                                     using other
                                                                                                             other internal
                                                                                                                    internal resources,
                                                                                                                              resources, or  or coach
                                                                                                                                                 coach you
                                                                                                                                                        you on
                                                                                                                                                             on
how to
how    to help
          help yourself.
               yourself. In
                          In the
                              the past,
                                   past, this
                                          this option
                                                option has
                                                        has proven
                                                             proven to
                                                                     to be
                                                                         be aa valuable
                                                                               valuable method
                                                                                            method forfor resolving
                                                                                                           resolving disputes
                                                                                                                      disputes atat the
                                                                                                                                    the lowest
                                                                                                                                          lowest possible
                                                                                                                                                   possible level,
                                                                                                                                                              level,
as it can work quickly and promotes a better work environment.
as  it can  work  quickly  and    promotes     a better  work  environment.

EXTERNAL MEDIATION
EXTERNAL    MEDIATION (3) (3) This
                              This process
                                    process gives
                                             gives you
                                                   you the
                                                       the opportunity
                                                            opportunity to
                                                                        to resolve
                                                                           resolve your
                                                                                    your dispute
                                                                                         dispute with
                                                                                                  with assistance
                                                                                                       assistance from
                                                                                                                   from aa trained,
                                                                                                                           trained,
independent mediator
independent    mediator from
                          from outside
                                 outside the
                                          the Company.
                                               Company. The
                                                          The mediator
                                                              mediator makes
                                                                        makes suggestions
                                                                                suggestions for
                                                                                             for resolution,
                                                                                                 resolution, but
                                                                                                             but doesn't
                                                                                                                 doesn’t decide
                                                                                                                          decide howhow you
                                                                                                                                        you will
                                                                                                                                            will
resolve the
resolve the dispute...that's
             dispute...that’s up
                               up to
                                   to you
                                      you and
                                          and the
                                               the Company.
                                                   Company.

ARBITRATION (4)
ARBITRATION      (4) A
                     A process
                       process in in which
                                     which you
                                             you and
                                                  and the
                                                        the Company
                                                              Company present
                                                                            present your
                                                                                     your dispute
                                                                                           dispute to
                                                                                                    to an
                                                                                                        an arbitrator
                                                                                                            arbitrator for
                                                                                                                        for aa final
                                                                                                                                final and
                                                                                                                                      and binding
                                                                                                                                           binding decision.
                                                                                                                                                     decision.
The arbitrator
The  arbitrator can
                  can award
                       award any
                              any remedy
                                     remedy you
                                              you might
                                                    might receive
                                                             receive inin aa court
                                                                              court of
                                                                                    of law.
                                                                                       law. The
                                                                                            The DRP
                                                                                                 DRP uses
                                                                                                       uses two
                                                                                                              two external
                                                                                                                   external organizations
                                                                                                                               organizations that
                                                                                                                                                that provide
                                                                                                                                                      provide
impartial arbitrators.
impartial   arbitrators, Because
                          Because arbitration
                                      arbitration isis final
                                                       final and
                                                              and binding,
                                                                    binding, youyou are
                                                                                    are encouraged
                                                                                         encouraged to to contact
                                                                                                           contact anan Ombuds
                                                                                                                         Ombuds beforebefore filing
                                                                                                                                             filing for
                                                                                                                                                    for
arbitration. Your
arbitration.  Your Ombuds
                     Ombuds will
                               will help
                                     help you
                                           you ensure
                                                ensure that
                                                          that all
                                                                all of
                                                                    of the
                                                                       the more
                                                                              more collaborative
                                                                                    collaborative options
                                                                                                   options havehave been
                                                                                                                     been exhausted.
                                                                                                                            exhausted.

If an
If an employee
       employee accepts
                   accepts or or continues
                                 continues employment
                                             employment withwith any
                                                                  any Weatherford
                                                                      Weatherford company,
                                                                                    company, thethe employee
                                                                                                      employee and and Weatherford
                                                                                                                        Weatherford thereby
                                                                                                                                       thereby agree
                                                                                                                                                agree to
                                                                                                                                                       to
all provisions
all  provisions of
                 of the
                    the Dispute
                          Dispute Resolution
                                    Resolution Program.
                                                Program. This
                                                           This agreement
                                                                 agreement includes
                                                                             includes the
                                                                                       the requirement
                                                                                            requirement thatthat certain
                                                                                                                  certain legal
                                                                                                                           legal disputes
                                                                                                                                  disputes not
                                                                                                                                            not resolved
                                                                                                                                                resolved
through Options
through    Options 1,1, 2,
                        2, or
                           or 33 be
                                 be submitted
                                     submitted to
                                                to final
                                                   final and
                                                         and binding
                                                              binding arbitration
                                                                       arbitration rather
                                                                                   rather than
                                                                                           than to
                                                                                                 to aa jury or through
                                                                                                       jury or  through the
                                                                                                                          the courts.
                                                                                                                               courts.

For more
For more information
          information about
                        about thethe DRP,
                                     DRP, please
                                          please contact
                                                 contact the
                                                         the Ombuds
                                                             Ombuds or
                                                                    or visit
                                                                       visit Weatherford's
                                                                             Weatherford’s website
                                                                                           website to
                                                                                                   to review
                                                                                                      review digital
                                                                                                             digital brochures
                                                                                                                     brochures and
                                                                                                                               and the
                                                                                                                                   the
DRP Plan
DRP  Plan and
          and Rules
              Rules in
                     in detail.
                         detail.




DRP &
DRP & Ombuds
      Ombuds Contact
             Contact Information
                     Information


Confidential Phone
Confidential Phone Lines:
                   Lines:                         Confidential Fax:
                                                  Confidential Fax:                       Email the
                                                                                          Email the Ombuds
                                                                                                    Ombuds at:
                                                                                                           at:

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